     8:11-cv-00240-JMG-CRZ Doc # 1 Filed: 07/07/11 Page 1 of 5 - Page ID # 1



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

DOUGLAS BRENNAN, Personal Representative             )      CASE NO. ____________
of the ESTATE OF DENNIS BRENNAN,                     )
                                                     )
                      Plaintiff,                     )
                                                     )
        vs.                                          )           COMPLAINT AND
                                                     )            JURY DEMAND
UNITED STATES OF AMERICA,                            )
CHHANDA BEWTRA, M.D., CREIGHTON                      )
SAINT JOSEPH REGIONAL HEALTHCARE                     )
SYSTEM, L.L.C. d/b/a CREIGHTON                       )
UNIVERSITY MEDICAL CENTER, ALAN                      )
RICHARDS, M.D.,                                      )
                                                     )
                      Defendants.                    )


        COMES NOW the Plaintiff and alleges the following:
                               PARTIES AND JURISDICTION
        1.     This action arises under the Federal Tort Claims Act, 28 U.S.C. § 2671(b), et seq.
This Court is vested with jurisdiction pursuant to 28 U.S.C. § 1346(b) and 42 U.S.C. § 233.
        2.     Plaintiff, Douglas Brennan, is the duly appointed, qualified and acting Personal
Representative of the Estate of Dennis Brennan, by Order of the County Court of Douglas County,
Nebraska (hereinafter “Dennis Brennan”). At the time of his death and at all times relevant herein,
Dennis Brennan was a citizen of the United States and was a resident of the state of Nebraska.
        2.     Upon information and belief and at all relevant times, Defendant United States of
America (“United States”) operated the VA Nebraska-Western Iowa Health Care System - Omaha
Division (“VA Nebraska”) located in Omaha, Nebraska and, as such, the VA Nebraska is subject
to and covered by the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 2671, et seq. Employees of
the VA Nebraska are deemed to be employees of the United States under the provisions of the
FTCA.
        3.     Defendant, Chhanda Bewtra, M.D. is a physician licensed to practice medicine in
Nebraska. Upon information and belief, at all times relevant times, Dr. Bewtra provided medical
services to Dennis Brennan at the VA Nebraska while working as a staff pathologist at the VA
     8:11-cv-00240-JMG-CRZ Doc # 1 Filed: 07/07/11 Page 2 of 5 - Page ID # 2



Nebraska and is considered a federal employee under the FTCA.
        4.      Defendant, Alan Richards, M.D. is a physician licensed to practice medicine in
Nebraska. Upon information and belief, at all times relevant times, Dr. Richards provided medical
services to Dennis Brennan while working as a staff physician at the VA Nebraska in Omaha,
Nebraska and is considered a federal employee under the FTCA.
        5.      Upon information and belief and at all relevant times, Defendant Bewtra was listed
as a staff pathologist at the VA Nebraska and Defendant Richards was listed as a staff physician at
the VA Nebraska.
        6.      At relevant times, Defendant Bewtra practiced medicine with Defendant Creighton
Saint Joseph Regional Healthcare System, L.L.C. d/b/a Creighton University Medical Center
(“Defendant Creighton”). All acts and omissions of Defendant Bewtra were taken in the course of
the doctor’s association with Defendant Creighton, and on behalf of the corporation; liability for the
negligent acts, omissions, and negligent failures to act, of Defendant Bewtra are imputed to
Defendant Creighton, by the doctrine of respondeat superior.
                                PROCEDURAL REQUIREMENTS
        7.      That on or about January 31, 2011, pursuant to the FTCA, Dennis Brennan filed a
Tort Claim for a personal injury claim with the Defendant United States, through its agent
Department of Veterans Affairs and/or St. Louis Office of Regional Counsel. By letter dated
February 14, 2011, the Defendant United States, through its agents and employees, acknowledged
receipt of said tort claim.
        8.      On or about May 27, 2011 and June 15, 2011, Plaintiff filed an Amended Tort Claim
for personal injury (survival claim) and wrongful death claim with the Defendant United States,
through its agent Department of Veterans Affairs and/or St. Louis Office of Regional Counsel.
        9.      By letter dated June 16, 2011, Defendant United States, through its agent Department
of Veterans Affairs and/or St. Louis Office of Regional Counsel, denied Plaintiff’s Tort Claim and
Amended Tort Claim and informed him of his right to file a civil action within six (6) months of the
date of notice of the denial.
        10.     Defendants Bewtra, Creighton University, and Richards may be covered by the
provisions of the Nebraska Hospital-Medical Liability Act. If the Defendants are found to be
covered by the provisions of the Act, Plaintiff has elected to waive his right, pursuant Neb. Rev. Stat.
§ 44-2840(4), to peer review by a medical review panel prior to the initiation of this litigation. A

                                                   2
     8:11-cv-00240-JMG-CRZ Doc # 1 Filed: 07/07/11 Page 3 of 5 - Page ID # 3



copy of Plaintiff’s Complaint was served by certified mail to the Director of the Nebraska
Department of Insurance at the time the action was filed with this Court as required by law.
                         FIRST CAUSE OF ACTION - NEGLIGENCE
          11.   Plaintiff incorporates Paragraphs 1 through 10 of this Complaint, as if fully set forth
herein.
          12.   On or about April 11, 2008, Dennis Brennan received medical services at the VA
Nebraska from the Defendants. On that date, Dennis Brennan underwent direct laryngoscopy with
biopsy of the left false vocal cord and a fine needle aspiration of the right 2/3 lymph node. The
pathology report dated April 11, 2008 and submitted by Defendant Bewtra for the needle aspiration
of the right 2/3 lymph node set forth a diagnosis as follows: “FNA, RIGHT LEVEL III LYMPH
NODE: - POSITIVE FOR MALIGNANCY, MOST LIKELY SQUAMOUS CELL TYPE”. The
pathology report dated April 11, 2008 for the biopsy taken of his left false vocal cord set forth a
diagnosis as follows: “Vocal Cord, left false, biopsy: – Sqamous mucosa with mild hyperkeratosis;
– no dysplasia or malignancy identified.”
          13.   On or about April 23, 2008, Defendant Richards met with Dennis Brennan to discuss
the results of the pathology reports. At that time, Dennis Brennan was informed that “Biopsy
negative for malignancy. No adenopathy seen on CT scan. Our concern was that the right neck mass
was an enlarged node anterior to the carotid. Appears mass is prominent carotid body itself.”
          14.   On or about January 7, 2011, Dennis Brennan was seen at the VA Nebraska due to
increased neck pain he was experiencing. At that time, the malignancy diagnosis from April of 2008
was disclosed to Dennis Brennan for the first time. At this time, Dennis Brennan had squamous cell
carcinoma stage TX N2b M1, with metastases to the right neck and cervical spine.
          15.   On or about January 19, 2011, Dennis Brennan and others met with the Acting Chief
of Staff, Thomas Lynch, M.D., who admitted mistakes were made with regard to the missed
diagnosis made by the Defendants and the failure to inform and recommend follow-up treatment to
Dennis Brennan.
          16.   That had such malignancy been promptly disclosed, it could have been successfully
treated thereby increasing Dennis Brennan’s life expectancy and reducing his subsequent pain and
suffering and medical expenses.
          17.   After the malignancy diagnosis was disclosed to Dennis Brennan in January 2011,
he received treatment of radiation and chemotherapy for the malignancy. In preparation for the

                                                  3
     8:11-cv-00240-JMG-CRZ Doc # 1 Filed: 07/07/11 Page 4 of 5 - Page ID # 4



radiation, Dennis Brennan had to have all of his teeth removed.
          18.   In April of 2008, Defendants owed a duty of care to Dennis Brennan to possess and
use the care, skill, and knowledge ordinarily possessed and used under like circumstances by other
physicians engaged in a similar practice in the same or similar localities.
          19.   The Defendants breached this duty of care to Dennis Brennan in April of 2008 when
they failed to promptly diagnose, inform and treat Dennis Brennan for a malignancy of the right level
III lymph node.
          20.   As a direct and proximate result of the negligence of Defendants, Dennis Brennan
stayed at a skilled nursing and rehabilitation facility during which he received
radiation/chemotherapy treatments, . He subsequently was admitted to a nursing home and received
hospice care. From approximately January 7, 2011 to May 14, 2011, Dennis Brennan was in
treatment facilities and had to continuously wear a neck collar since his neck became unstable due
to the malignancy in his neck.
          21.   As a direct and proximate result of the negligence of Defendants, Dennis Brennan
also had surgery performed on his neck which included C5 corpectomy for tumor resection and
spinal cord decompression, C4-C5 diskectomies, C4-C5-C6 interbody fusion with structural allograft
and a C4-C5-C6 anterior instrumentation (C-TEK). Surgery was performed due to a pathologic
fracture that lead to weakness in Mr. Brennan’s left arm.
          22.   As a direct and proximate result of the admitted negligence of Defendants, Dennis
Brennan incurred medical expenses, to date, in the approximate amount of $29,571.17 from January
7, 2011 to May 14, 2011, suffered severe pain and suffering as a result of the malignancy in his neck,
subsequent radiation/chemotherapy treatments, neck surgery, and other complications from the
malignancy in his neck. Plaintiff continues to receive medical expenses from medical providers who
provided care and treatment to Dennis Brennan, deceased.
          23.   As a proximate result of the admitted negligence of the Defendants, Dennis Brennan
died on May 14, 2011.
                   SECOND CAUSE OF ACTION - WRONGFUL DEATH
          24.   Plaintiff incorporates Paragraphs 1 through 23 of this Complaint, as if fully set forth
herein.
          25.   The injuries, damages and death suffered by Decedent Dennis Brennan were
proximately caused by the negligence of the Defendants by their failure to promptly diagnose, inform


                                                  4
     8:11-cv-00240-JMG-CRZ Doc # 1 Filed: 07/07/11 Page 5 of 5 - Page ID # 5



and treat Dennis Brennan in April of 2008 for a malignancy of the right level III lymph node.
          26.    Dennis Brennan incurred special damages for medical expenses, to date, in the
approximate amount of $29,571.17 from January 7, 2011 until the date of his death on May 14, 2011
together with funeral, burial and memorial services in the approximate amount of $8,390.09 as a
result of the negligence of the Defendants. Plaintiff continues to receive medical expenses from
medical providers who provided care and treatment to Dennis Brennan, deceased.
          27.    That by reason of the death of Dennis Brennan, the surviving children and
grandchildren of Dennis Brennan, Deceased, have suffered damages for the loss of his care, comfort,
companionship, consortium, and the value of the contribution Decedent Dennis Brennan would have
made to them.
                                      REQUEST FOR RELIEF
          On the foregoing basis, Plaintiff respectfully request judgment against Defendants, jointly
and severally, on both of their Causes of Action, for special damages in an amount to be determined
at trial, general damages in an amount to be determined at trial, accruing special and general
damages, prejudgment interest to the extent permitted by law, the costs of this action, and other just
relief.
                                                        DOUGLAS BRENNAN, PERSONAL
                                                        REPRESENTATIVE OF THE ESTATE OF
                                                        DENNIS BRENNAN, Plaintiff,


                                                BY:      s /Thomas M. White
                                                        C. Thomas White, #14488
                                                        Thomas M. White, #17452
                                                        Amy S. Jorgensen, #23215
                                                        WHITE & JORGENSEN
                                                        209 So. 19th Street, Suite #310
                                                        Omaha, NE 68102
                                                        (402) 346-5700

                                                        ATTORNEYS FOR PLAINTIFF

                                 DEMAND FOR TRIAL BY JURY

          Plaintiff respectfully demands trial by jury in Omaha, Nebraska, on all issues so triable.


                                                         s/Thomas M. White
                                                        One of Plaintiff’s attorneys


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